                                                                                               FILED
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                                                                                               Jan 02 2018
 2                                                                                        CL.UK, U.S. DISTRICT COURT
                                                                                        IOUTMERN DISTRICT OP' CAUFOllNIA
 3                                                                                    llY         ':Inn          DEPUTY
                                       UNITEn STATl!S DISTRICT CO
 4
                                      SOU'l'BE~    D:ISTRICT OF       CALIFO~IA

 5

 6    UNITED STATES OF AMERICA,                                    Case No .            18CR0002-GPC

 7                                     Plaintiff,                  INFORMATION

 8          v.                                                     Title 21 , O. S.C. ,
                                                                   Secs . 952 and 960 -
 9   ANNETTE MARIE GONZALES ,                                      Importation of
                                                                   Methamphetamine ( Felony )
10                                     Defendant.

11

12         The Un i ted States Attorney charges :

13         On    or    about     December         3,   2017,    wi thin        t he    Southe rn        District o f

14   California,        defendant,          ANNETTE        MARIE      GONZALES ,           did      knowingly              and

15   intentionally import 500 grams and more ,                         to wit :            approximat ely 28 . 84

16   kilograms        (63. 45    pounds)      of       a   mi xture    and       subst anc e          containing             a

17   detectable        amount          of   Methamphetarnine ,             a     Schedule I I              Controlled

18   Substance ,      into      the    United      States      from    a   p l ace       outside        thereof;            in

19   violation of Title 21 , United S tates Code , Sections 952 and 96 0 .

20         DATED :      ' \   LIi 8
21                                                          ADAM L . BRAVERMAN
                                                            United States Att orney
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23
                                                             clJ:~
                                                            COLI   . MCDONALD
24
                                                            Assistant U.S . Att orney
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     CMMC : aag:12 / 2 9/20 1 7
